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 PROPOSED ATTORNEYS FOR DEBTORS
 AND DEBTORS IN POSSESSION


                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

                                                )
  IN RE:                                        )   CHAPTER 11 CASE
                                                )
  FLEXIBLE FUNDING LTD. LIABILITY CO.,          )   CASE NO. 21-42215-mxm-11
                                                )
                  DEBTOR.                       )
                                                )


                     GLOBAL NOTES REGARDING DEBTOR’S SCHEDULES




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 These Global Notes (the “Global Notes”) regarding the Schedules of Flexible Funding Ltd.
 Liability Co. (the "Debtor" or “Flexible") comprise an integral part of the Schedules of
 Assets and Liabilities and should be referred to and considered in connection with any
 review of them.

 The Debtor's Schedules of assets, liabilities, executory contracts and unexpired leases, and co-
 debtors (collectively, the “Schedules”) have been prepared pursuant to section 521 of title 11 of
 the United States Code, U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), and Rule 1007 of the
 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by personnel of the Debtor with
 the assistance of its advisors. The Global Notes pertain to all of the Schedules. The Schedules
 are unaudited.

 The financial affairs and business of the Debtor are complex. While the Debtor’s management
 has made reasonable efforts to ensure that the Schedules are accurate and complete based on
 information that was available to them at the time of preparation, the subsequent receipt or
 discovery of information and/or further review and analysis of the Debtor’s books and records may
 result in material changes to financial data and other information contained in the Schedules.
 Moreover, because the Schedules contain unaudited information, which is subject to further
 review and potential adjustment, there can be no assurance that the Schedules are complete and
 accurate. Furthermore, nothing contained in the Schedules shall constitute a waiver of the
 Debtor’s rights or an admission with respect to this chapter 11 case, including, without limitation,
 any issues involving equitable subordination and/or causes of action arising under the provisions
 of chapter 5 of the Bankruptcy Code and other relevant applicable laws to recover assets or avoid
 transfers.

 Agreements Subject to Confidentiality. There may be instances within the Schedules where
 names, addresses or amounts have been left blank. Due to the nature of an agreement between
 the Debtor and the third party, concerns of confidentiality or concerns for the privacy of an
 individual, the Debtor may have deemed it appropriate and necessary to avoid listing such names,
 addresses and amounts.

 Amendment. While reasonable efforts were made to file complete and accurate Schedules,
 inadvertent errors or omissions may exist. The Debtor reserves all rights to amend and/or
 supplement its Schedules as is necessary and appropriate.

 Basis of Presentation. While the Schedules, at times, incorporate information prepared in
 accordance with generally accepted accounting principles (“GAAP”), the Schedules do not purport
 to represent financial information prepared in accordance with GAAP.

 Causes of Action. The Debtor, despite its best efforts, may not have identified or set forth all of
 its causes of action (filed or potential) as assets in its Schedules. The Debtor reserves all of its
 rights with respect to any causes of action it may have and neither these Global Notes nor the
 Schedules shall be deemed a waiver of any such causes of action.

 Claims Description. Any failure to designate an amount on the Debtor’s Schedules as
 “disputed,” “contingent” or “unliquidated” does not constitute an admission by the Debtor that such


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 amount is not “disputed,” “contingent” or “unliquidated.” The Debtor reserves the right to dispute
 any claim reflected on its Schedules on any grounds including, without limitation, amount, liability,
 validity, priority or classification, or to otherwise subsequently designate such claims as
 “disputed,” “contingent” or “unliquidated.” The Debtor reserves its rights to object to any
 scheduled claims.

 Current Value of Assets. It would be prohibitively expensive, unduly burdensome and an
 inefficient use of resources for the Debtor to obtain current valuations of all of its assets.
 Accordingly, unless otherwise indicated, net book values, rather than current market valuations,
 of the Debtor’s interests in assets are reflected on the Schedules. For this reason, amounts
 ultimately realized may vary from net book value and such variance may be material. As
 applicable, assets that have been fully depreciated or were expensed for accounting purposes
 have no net book value.

 Date. Unless otherwise indicated, the values reflected on the Schedules are as of September
 19, 2021 (the “Petition Date”).

 Estimates. The preparation of the Schedules required the Debtor to make certain estimates and
 assumptions that affect the reported amounts of its assets and liabilities. Actual results could
 differ from those estimates.

 Insiders. Persons and entities listed as “insiders” have been included for informational purposes
 only and should not be construed as a legal characterization of such party as an insider and does
 not act as an admission of any fact, claim, right or defense and all such rights, claims and
 defenses are hereby expressly reserved. Further, the Debtor does not take any position with
 respect to (a) such person’s influence over the control of the Debtor, (b) the management
 responsibilities or functions of such individual, (c) the decision-making or corporate authority of
 such individual or (d) whether such individual could successfully argue that he or she is not an
 “insider” under applicable law. The Debtor presumes that persons who are not corporate officers
 of the Debtor are not “officers” for purposes of determining insider status, regardless of job title.

 Inventory. Inventory, where applicable, is presented without consideration for any potential liens
 asserted by domestic common carriers, shippers, truckers, or similar liens.

 Liabilities Generally. Some of the Debtor’s scheduled liabilities are unknown and/or unliquidated
 at this time. In such cases, the amounts may be listed as “Unknown” or “Undetermined.” As a
 result, the Debtor’s Schedules do not accurately reflect the aggregate amount of the Debtor’s
 liabilities, which may differ materially from those stated in the Schedules.

 Prepetition and Postpetition Liabilities. The Debtor has sought to allocate liabilities between
 prepetition and postpetition periods based on information from research that was conducted in
 connection with the preparation of the Schedules. As additional information becomes available
 and further research is conducted, the allocation of liabilities between prepetition and postpetition
 periods may change.

 Schedules A/B. “Accounts Receivable” in Schedule A/B reflects the Debtor’s estimated loan
 portfolio as of the Petition Date. Specifically, the “current value” of $101,764.622.96 represents

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 the aggregate of loan balances, including participation receivables and term loans, net of
 uncollectible receivables and refunds owed to customers. There is no explicit aging of these
 accounts. However, the accounts are secured by lien interests in client receivables. At the time
 of filing, this collateral was valued at $176,397,736, of which $27,537,882 was over 90 days past
 due. The chart below reflects the calculation of the estimated value of receivables as of the
 Petition Date.

                                                                                  Average used
    Accounts Receivable:             Aug 31                  Sep 30                for Sept. 19

  Total Loans (Term & ABL)           110,260,668           115,101,133           112,680,900
  Allowance for Doubtful
  Accounts                            (6,516,385)            (6,691,385)          (6,603,885)
  Participation Receivables
  (Engstrom)                           5,624,865              5,624,865            5,624,865
  Unapplied Cash Payment /
  Suspense                            (4,950,281)           (10,403,109)          (7,676,695)
  Total Refunds Due to
  Others (no‐offset to loans)         (2,260,562)            (2,260,562)          (2,260,562)

                                     102,158,305           101,370,942          101,764,623


 Schedule D – Creditors Holding Secured Claims. The Debtor has not included on Schedule
 D entities that may believe their claims are secured through setoff rights, deposits posted by or
 on behalf of the Debtor, or inchoate statutory lien rights. Except as otherwise agreed pursuant to
 a stipulation or agreed order or general order entered by the Bankruptcy Court, the Debtor
 reserves its right to dispute or challenge, among other things, the validity, perfection or immunity
 from avoidance of any lien purported to be granted or perfected in any specific asset to a creditor
 listed on Schedule D. Moreover, although the Debtor may have scheduled claims of various
 creditors as secured claims, the Debtor reserves all rights to dispute or challenge the secured
 nature of any such creditor’s claim or the characterization of the structure of any such transaction
 or any document or instrument related to such creditor’s claim. For instance, the inclusion of a
 counterparty to a lease in Schedule D is not an admission that such lease constitutes a capital
 lease, and the Debtor reserves all rights to contend that the referenced agreement is, instead, an
 operating lease. The descriptions provided in Schedule D are intended only to be a summary.
 Reference to the applicable loan agreements and related documents is necessary for a complete
 description of the collateral and the nature, extent and priority of any liens. Nothing in the Global
 Notes or the Schedules shall be deemed a modification or interpretation of the terms of such
 agreements. The Debtor reserves the right to dispute the tax assessed value for any of the
 taxable assets.

 The Debtor’s senior lenders consist of Umpqua Bank (as lender and agent), Horizon Bank and
 CIT Bank, which hold senior lien interests in essentially all assets of the Debtor. Bison Investors,
 LLC and Medalist Partners, L.P. hold subordinated lien interests in all assets of the Debtor.



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 Schedule E/F – Creditors Holding Priority Claims. The Debtor reserves its rights to dispute or
 challenge whether creditors listed on Schedule E/F, Part 1, are entitled to priority claims.

 Schedule E/F – Creditors Holding Unsecured Nonpriority Claims. Schedule E/F does not
 include certain deferred charges, deferred liabilities or general reserves. Such amounts may,
 however, be reflected on the Debtor’s books and records as required in accordance with GAAP.
 Such accruals are general estimates of liabilities and do not represent specific claims as of the
 Petition Date. The claims listed in Schedule E/F arose or were incurred on various dates. In
 certain instances, the date on which a claim arose is an open issue of fact. While best efforts
 have been made, determination of each date upon which each claim in Schedule E/F was incurred
 or arose would be unduly burdensome and cost prohibitive and, therefore, the Debtor does not
 list a date for each claim listed on Schedule E/F.

 Schedule G – Executory Contracts and Unexpired Leases. The business of the Debtor is
 complex. While reasonable efforts have been made to ensure the accuracy of Schedule G
 regarding executory contracts and unexpired leases, inadvertent errors, omissions or
 overinclusion may have occurred. The Debtor hereby reserves all of its rights to dispute the
 validity, status or enforceability of any contract, agreement or lease set forth on Schedule G that
 may have expired or may have been modified, amended and supplemented from time to time by
 various amendments, restatements, waivers, estoppel certificates, letters and other documents,
 instruments, and agreements which may not be listed on Schedule G. Certain of the leases and
 contracts listed on Schedule G may contain certain renewal options, guarantees of payment,
 options to purchase, rights of first refusal, and other miscellaneous rights. Such rights, powers,
 duties and obligations are not set forth on Schedule G. Certain executory agreements may not
 have been memorialized in writing and could be subject to dispute. In addition, the Debtor may
 have entered into various other types of agreements in the ordinary course of business, such as
 easements, right of way, subornation, non-disturbance, and attornment agreements,
 supplemental agreements, amendment/letter agreements, title agreements and confidentially
 agreements. Such documents may not be set forth on Schedule G. The Debtor reserves all of
 its rights to dispute or challenge the characterization of the structure or substances of any
 transaction, or any document or instrument. In the ordinary course of business, the Debtor may
 have entered into agreements, written or oral, for the provision of certain services on a month-to-
 month or at-will basis. Such contracts may not be included on Schedule G. The Debtor, however,
 reserves the right to assert that such agreements constitute executory contracts. Listing a
 contract, agreement or lease on Schedule G does not constitute an admission that such contract,
 agreement or lease is an executory contract or unexpired lease or that such contract or agreement
 was in effect on the Petition Date or is valid or enforceable. The Debtor reserves all rights to
 challenge whether any of the listed contracts, agreements, leases or other documents constitute
 an executory contract or unexpired lease, including if any are unexpired real property leases. The
 Debtor reserves all rights to contend that any of the listed leases are capital leases rather than
 operating leases. Any and all of the Debtor's rights, claims and causes of action with respect to
 the contracts and agreements listed on Schedule G are hereby reserved and preserved.
 Omission of a contract, agreement or lease from Schedule G does not constitute an admission
 that such omitted contract or agreement is not an executory contract or unexpired lease. The
 Debtor’s rights under the Bankruptcy Code with respect to any such omitted contracts,

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 agreements or leases are not impaired by the omission. Schedule G may be amended at any
 time to add any omitted contract, agreement or lease. For any executory contract or unexpired
 lease that purportedly may have been assigned to the Debtor, but for which there is not
 documentation to support the purported assignment, neither the executory contract nor unexpired
 lease (or related claim) has been included on the Schedules.

 Totals. All totals that are included in the Schedules represent totals of all known amounts
 included in the Debtor’s books and records at the time of the Petition Date. To the extent there
 are unknown or undetermined amounts, the actual total may be different than the listed total, at
 times materially.

                                                            ***

 The Debtor and its agents, attorneys and financial advisors do not guarantee or warrant the
 accuracy, completeness, or currentness of the data that is provided herein and shall not be liable
 for any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions,
 whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
 communication or delivering the information contained herein. While every effort has been made
 to provide accurate and complete information herein, inadvertent errors and omissions may exist.


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 Fill in this information to identify the case
 Debtor name          Flexible Funding Ltd. Liability Co.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          21-42215-mxm11
 (if known)                                                                                                       Check if this is an
                                                                                                                   amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                             12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                      Current value of
                                                                                                                           debtor's interest

2.     Cash on hand                                                                                                                           $0.00

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                Type of account                 Last 4 digits of
                                                                                                   account number
3.1.    City National Bank                                         Checking account                    9   1   0     7                   $18,334.03
3.2.    Umpqua Bank                                                Checking account                    7   2   2     2                        $0.00
3.3.    Wells Fargo Bank                                           Checking account                    2   5   2     7             $1,616,072.25
3.4.    RBC Bank                                                   Checking account                    1   7   1     7                     $119.57
3.5.    RBC Bank                                                   Checking account                    6   5   5     7                      $68.35
3.6.    Wells Fargo - Customer                                     Checking account                    5   8   5     6                        $0.00
3.7.    Wells Fargo - Customer                                     Checking account                    6   8   6     5                        $0.00
3.8.    Wells Fargo - Customer                                     Checking account                    6   6   6     7                        $0.00
3.9.    Wells Fargo - Customer                                     Checking account                    5   7   0     0                        $0.00
3.10. Wells Fargo - Customer                                       Checking account                    4   6   8     8                        $0.00
3.11. Wells Fargo - Instapay Collection Account                    Checking account                    4   8   5     9               $242,901.56




Official Form 206A/B                              Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor         Flexible Funding Ltd. Liability Co.                                             Case number (if known)   21-42215-mxm11
               Name

4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                    $1,877,495.76


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes. Fill in the information below.

                                                                                                                              Current value of
                                                                                                                              debtor's interest
7.     Deposits, including security deposits and utility deposits

       Description, including name of holder of deposit

7.1.    Rental Deposit with AP Shale Logistics Management Co, LLC for Dallas/Fort Worth location                                        $13,320.00
7.2.    Rental Deposit with Boston Properties Limited Partnership for San Francisco, CA location                                        $15,556.31
7.3.    Rental Deposit with Dusenberg Investment Company for LA location                                                                 $2,739.00
7.4.    Retainer with Forshey & Prostok, LLP                                                                                            $82,151.50
8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

       Description, including name of holder of prepayment

9.     Total of Part 2.
       Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                      $113,766.81


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes. Fill in the information below.
                                                                                                                              Current value of
                                                                                                                              debtor's interest
11. Accounts receivable

11a. 90 days old or less:          $108,368,507.96              –            $6,603,885.00               = ..............       $101,764,622.96
                             face amount                            doubtful or uncollectible accounts

11b. Over 90 days old:                    $0.00                 –                 $0.00                  = ..............                    $0.00
                             face amount                            doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                 $101,764,622.96


 Part 4: Investments

13. Does the debtor own any investments?

          No. Go to Part 5.
          Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 2
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                Name

                                                                                            Valuation method             Current value of
                                                                                            used for current value       debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

            Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

            Name of entity:                                              % of ownership:
15.1.       Instapay Flexible, LLC                                           100%                                                   Unknown
15.2.       Flexible Support Group, LLC                                       50%                                                   Unknown
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

            Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                         $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes. Fill in the information below.

        General description                         Date of the     Net book value of       Valuation method             Current value of
                                                    last physical   debtor's interest       used for current value       debtor's interest
                                                    inventory       (Where available)
19. Raw materials                                   MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

        Office Supplies                                                        $500.00                                                $500.00
23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                      $500.00

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

           No. Go to Part 7.
           Yes. Fill in the information below.




Official Form 206A/B                              Schedule A/B: Assets -- Real and Personal Property                                         page 3
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             Name

     General description                                            Net book value of     Valuation method             Current value of
                                                                    debtor's interest     used for current value       debtor's interest
                                                                    (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                       $0.00

34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor's property stored at the cooperative?
               No
               Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes
 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes. Fill in the information below.

     General description                                            Net book value of     Valuation method             Current value of
                                                                    debtor's interest     used for current value       debtor's interest
                                                                    (Where available)
39. Office furniture

     Furniture, Fixtures and Equipment                                      $41,633.43    Book Value                             $41,633.43
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Copier
     (leased)                                                                                                                     Unknown
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                 $41,633.43

44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes



Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                          page 4
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45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes
 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

      General description                                          Net book value of     Valuation method             Current value of
      Include year, make, model, and identification numbers        debtor's interest     used for current value       debtor's interest
      (i.e., VIN, HIN, or N-number)                                (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                      $0.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes
 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.


55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent      Net book value of   Valuation method     Current value of
       Include street address or other description    of debtor's interest   debtor's interest   used for current     debtor's interest
       such as Assessor Parcel Number (APN),          in property            (Where available)   value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 5600 Clearfork Main St., Ste 420,
       Fort Worth, TX 76109
       Office Location:
       5600 Clearfork Main St., Ste 420,              Lease                                                                      Unknown
55.2. 2131 Theo Drive, Suite 2
       Austin, TX 78723
       Office Location:
       2131 Theo Drive, Suite 2, Austin, TX
       78723                                          Lease                                                                      Unknown




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                        page 5
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             Name

55.3. 1800 Avenue of the Stars, Ste 650,
      LA, CA 90067
      Office Location:
      1800 Ave. of the Stars, Ste 650, LA,
      CA 90067                                       Lease                                                                           Unknown
55.4. 800 Boylston Street, Ste 1900,
      Boston, MA 02199
      Office Location:
      800 Boylston Street, Ste 1900,
      Boston, MA 02199                               Lease                                                                           Unknown
55.5. PO Box 665,
      Edwards, CO 81632
      Office Location:
      PO Box 665, Edwards, CO 81632                  Lease                                                                           Unknown
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                          $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes. Fill in the information below.

     General description                                           Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

     Trademarks                                                                                                                      Unknown
61. Internet domain names and websites

     https://www.flexiblefund.com                                                                                                    Unknown
     https://www.flexiblefunding.com                                                                                                 Unknown
62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

     Customer list                                                                                                                   Unknown
64. Other intangibles, or intellectual property

     Convenent not to compete with Steven Elias                           $34,729.69      Book Value                                $34,769.69
     Capitalized Software Development - M3                              $716,203.00       Book Value                              $716,203.00
65. Goodwill

     Goodwill                                                         $1,127,382.16                                             $1,127,382.16
66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                $1,878,354.85

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes

Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 6
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Debtor       Flexible Funding Ltd. Liability Co.                                         Case number (if known)   21-42215-mxm11
             Name

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes. Fill in the information below.

                                                                                                                      Current value of
                                                                                                                      debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

     Worker's Compensation & Employers Liability Policies

     Insurer: New Hampshire Ins. Co.
     Insured: ADP TotalSource FL XVII, Inc. and Flexible Funding Ltd. Liability Co.

     Policy # XXXXXXX5500 UT
            XXXXXXX1549 OK
            XXXXXXX1553 TX
            XXXXXXX1529 CO
            XXXXXXX1551 SC
            XXXXXXX7684 PA

     Coverage per Policy: $2,0000.000.00                                                                                         Unknown
     Worker's Compensation & Employers Liability Policies

     Insurer: AIU Insurance Company
     Insured: ADP TotalSource FL XVII, Inc. and Flexible Funding Ltd. Liability Co.

     Policy # XXXXXXX4936 CA

     Coverage per Policy: $2,0000.000.00                                                                                         Unknown
     Group Health Insurance -                                                                                                    Unknown
74. Causes of action against third parties (whether or not a lawsuit has been filed)

     Please see attached                                                                                                         Unknown




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                        page 7
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Debtor          Flexible Funding Ltd. Liability Co.                                                             Case number (if known)       21-42215-mxm11
                Name

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

      Please see attached                                                                                                                                      Unknown




76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                                   $0.00

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                         Current value of                         Current value of
                                                                               personal property                        real property


80. Cash, cash equivalents, and financial assets.                                   $1,877,495.76
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                    $113,766.81

82. Accounts receivable. Copy line 12, Part 3.                                    $101,764,622.96

83. Investments. Copy line 17, Part 4.                                                         $0.00

84. Inventory. Copy line 23, Part 5.                                                        $500.00

85. Farming and fishing-related assets.                                                        $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                          $41,633.43
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                        $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9................................................................                              $0.00

89. Intangibles and intellectual property.                                          $1,878,354.85
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                  +                $0.00

91. Total. Add lines 80 through 90 for each column.                    91a.       $105,676,373.81           +    91b.                 $0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.......................................................................................   $105,676,373.81




Official Form 206A/B                                     Schedule A/B: Assets -- Real and Personal Property                                                        page 8
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                                Flexible Funding Ltd. Liability Co.
                                   Case No. 21-42215-mxm-11
                                     Schedule B #74 and #75


  Claims and Causes of Action:                                  Value
  A. Judgments:

      1. Aseptic Technologies, LLC, et al.                      Unknown
         $782,780.21

      2. Apollo Research Partners, LLC, et al.                  Unknown
         $411,838.00

      3. Galca & Jose Guillermo Alcantar                        Unknown
         $1,185,846.79

  B. Bankruptcy Proofs of Claim:

      1. In re: Hill Concrete Structures,                       Unknown
         Bankr. Case No. 19-10212 (S.D. CA)
         $843,077.42 Unsecured

      2. In re: Greenlight Staffing Group, Inc.,                Unknown
         Bankr. Case No. 19-20536 (S.D. FL)
         $318,577.41 Secured

      3. In re: West Coast Distribution, Inc,                   Unknown
         Bankr. Case No. 19-20332 (S.D. CA)
         $737,221.93 Unsecured
                                                                Unknown
      4. In re: Country Fresh Holding Co.,
         Bankr. Case No. 21-30574 (S.C. TX)
         $321,984.05 Unsecured


  C. Other Claims, Causes of Action, Counterclaims

      1. Counterclaim asserted and/or                            Unknown
         assertable in Mowbray’s Tree
         Service v. Flexible Funding Ltd.
         Liability Co., Cause No. CGC-
         21-589522, in the San
         Francisco Superior Court, San
         Francisco County, California

      2. Claims and causes of action                             Unknown
         asserted and/or assertable
         against Graham County Land
         Company, L.L.C., National Civil,


                                                   1
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        LLC, Randy Jordan, John
        Pressley, Cecil Patterson and
        Buck Jackson, including in
        connection with litigation
        pending in the U.S. Bankruptcy
        Court, Western District of North
        Carolina, Bryson City Division,
        Adv. Case No. 21-02000

      3. Claims and causes of action
         relating to or arising out of
         transfers from Graham County
         Land Company, LLC to entities,
         including but not limited to
         Carver Contracting, LLC,
         National Civil LLC, Tarheel
         Realty & Development LLC,
         Jordan Properties – NC, LLC,
         and Snowbird Mountain Trout
         Company, LLC.

        Claims and causes of action
        against accountants, including
        DLC CPAs, LLC and Anthony
        P. DeLuca (CPA).

      4. Claims and causes of action
         against con-conspirators, aiders
         and abettors, or other negligent
         or responsible actors
         contributing to GCLC’s
         defalcations.

      5. Claims and causes of action
         against LSQ Funding Group, LC
         arising out of or relating to
         Canfield Funding LLC, dba
         Millennium Funding’s factoring
         and security agreement with
         Engstrom Inc. and causes of
         action asserted or assertable
         against Engstrom.

      6. Claims and causes of action
         against co-conspirators, aiders
         and abettors, or other negligent
         or responsible actors
         contributing to Engstrom and
         LSQ’s defalcations.



                                            2
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         out of the Accounts Receivable
         Financing Agreement between
         the Debtor and Galca Group
         LLC, including against Marquez
         Brothers Foods Southern
         California, Marquez Brothers
         Enterprises, Marquez Brothers
         Nevada and Marquez Brothers
         Southwest, Inc., including in
         connection with litigation
         pending in San Francisco
         Superior Court

      8. Claims asserted or assertable                           Unknown
         against Umpqua Bank (as
         Agent and Lender), CIT Bank,
         Horizon Bank, including without
         limitation, lender liability claims

      9. Claims and causes of action                             Unknown
         asserted or assertable against
         Tijuana Produce, including in
         connection with litigation
         pending in San Francisco
         Superior Court

     10. Claims and causes of action asserted                    Unknown
         or assertable against El Gallo Bakery,
         El Gallo Grill, and Que Moles,
         including in connection with litigation
         pending in California state court.

     11. Claims and causes of action asserted                    Unknown
         or assertable against Tilley HVE in
         connection with litigation pending in
         California state court.

     12. Potential claims and causes of action,                  Unknown
         including collection actions, against
         borrower customers to the extent
         provided by loan documents and
         applicable law

     13. Claims and causes of actions against
         Constructure, Inc., including
         collection actions.

     14. Claims and causes of action asserted
         and/or assertable against Brandlin
         and Associates, including collection
         violations.

                                                   3
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 Fill in this information to identify the case:
 Debtor name          Flexible Funding Ltd. Liability Co.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          21-42215-mxm11                                                                              Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Bison Investors, LLC                             subject to a lien                                 $2,000,000.00         $

          Creditor's mailing address                       Blanket Lien
          1775 Wehrle Drive, Ste. 300                      Describe the lien
                                                           Loan / Agreement
                                                           Is the creditor an insider or related party?
          Williamsville              NY   14221             No
          Creditor's email address, if known                Yes
                                                           Is anyone else liable on this claim?
          Date debt was incurred       05/02/2019           No
          Last 4 digits of account                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                  Contingent
              No                                              Unliquidated
          
              Yes. Specify each creditor, including this      Disputed
          
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                             $95,478,666.86


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
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Debtor       Flexible Funding Ltd. Liability Co.                                     Case number (if known) 21-42215-mxm11

 Part 1:       Additional Page                                                                       Column A               Column B
                                                                                                     Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                            Do not deduct the      that supports
sequentially from the previous page.                                                                 value of collateral.   this claim

 2.2     Creditor's name                             Describe debtor's property that is
         CIT Bank                                    subject to a lien                                $14,283,704.57         $14,283,704.57

         Creditor's mailing address                  All Assets
         f/k/a Mutual of Omaha Bank                  Describe the lien
         3580 Camel Mountain Road, Suite 160         Loan/Agreement
                                                     Is the creditor an insider or related party?
         San Diego                  CA   92130        No
         Creditor's email address, if known           Yes
                                                     Is anyone else liable on this claim?
         Date debt was incurred                       No
         Last 4 digits of account                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                      As of the petition filing date, the claim is:
         Do multiple creditors have an interest in   Check all that apply.
         the same property?                             Contingent
             No                                         Unliquidated
         
             Yes. Have you already specified the        Disputed
         
                  relative priority?




 2.3     Creditor's name                             Describe debtor's property that is
         First Horizon Bank                          subject to a lien                                $14,283,704.57         $14,283,704.57

         Creditor's mailing address                  All Assets
         165 Madison Ave. 10th Floor                 Describe the lien
                                                     Loan/Agreement
                                                     Is the creditor an insider or related party?
         Memphis                    TN   38103        No
         Creditor's email address, if known           Yes
                                                     Is anyone else liable on this claim?
         Date debt was incurred                       No
         Last 4 digits of account                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                      As of the petition filing date, the claim is:
         Do multiple creditors have an interest in   Check all that apply.
         the same property?                             Contingent
             No                                         Unliquidated
         
             Yes. Have you already specified the        Disputed
         
                  relative priority?




Official Form 206D            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2
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Debtor       Flexible Funding Ltd. Liability Co.                                              Case number (if known) 21-42215-mxm11

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.4     Creditor's name                                      Describe debtor's property that is
         Medalist Partners, L.P.                              subject to a lien                                $15,700,000.00         $15,700,000.00

         Creditor's mailing address                           All Assets
         777 Third Avenue                                     Describe the lien
         Suite 1402                                           Loan / Agreement
                                                              Is the creditor an insider or related party?
         New York                   NY     10017               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?




 2.5     Creditor's name                                      Describe debtor's property that is
         San Francisco County Tax                             subject to a lien                                       Unknown           Unknown

         Creditor's mailing address                           All Business Personal Property
         1 Drive                                              Describe the lien
         Canton Goodlett Place                                Taxes / Statutory Lien
         Room 190                                             Is the creditor an insider or related party?
         San Francisco              CA     94102               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred        01/01/2021              No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
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Debtor       Flexible Funding Ltd. Liability Co.                                              Case number (if known) 21-42215-mxm11

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.6     Creditor's name                                      Describe debtor's property that is
         Tarrant County                                       subject to a lien                                       Unknown        Unknown

         Creditor's mailing address                           All Business Personal Property
         101 E Weatherford                                    Describe the lien
                                                              Taxes / Statutory Lien
                                                              Is the creditor an insider or related party?
         Fort Worth                 TX     76196               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred          01/01/2021            No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines

 2.7     Creditor's name                                      Describe debtor's property that is
         Umpqua Bank                                          subject to a lien                                $42,851,113.72         $42,851,113.72

         Creditor's mailing address                           All Assets
         PO Box 1580                                          Describe the lien
                                                              Agent/Loan Agreement
                                                              Is the creditor an insider or related party?
         Roseburg                   OR     97470               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4
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Debtor       Flexible Funding Ltd. Liability Co.                                     Case number (if known) 21-42215-mxm11

 Part 1:       Additional Page                                                                       Column A               Column B
                                                                                                     Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                            Do not deduct the      that supports
sequentially from the previous page.                                                                 value of collateral.   this claim

 2.8     Creditor's name                             Describe debtor's property that is
         Umpqua Bank                                 subject to a lien                                 $6,360,144.00         $6,360,144.00

         Creditor's mailing address                  All Assets
         PO Box 1580                                 Describe the lien
                                                     Swingline Note
                                                     Is the creditor an insider or related party?
         Roseburg                   OR   97470        No
         Creditor's email address, if known           Yes
                                                     Is anyone else liable on this claim?
         Date debt was incurred                       No
         Last 4 digits of account                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                      As of the petition filing date, the claim is:
         Do multiple creditors have an interest in   Check all that apply.
         the same property?                             Contingent
             No                                         Unliquidated
         
             Yes. Have you already specified the        Disputed
         
                  relative priority?




Official Form 206D            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 5
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 Fill in this information to identify the case:
 Debtor               Flexible Funding Ltd. Liability Co.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          21-42215-mxm11                                                                          Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1    Priority creditor's name and mailing address        As of the petition filing date, the               $4,038.47           $4,038.47
                                                                claim is: Check all that apply.
Aaron Strain
                                                                   Contingent
315 Slate Lane                                                      Unliquidated
                                                                
Apt 9210                                                           Disputed

                                                                Basis for the claim:
Mount Pleasant                        SC      29464             Pre-petition wages
Date or dates debt was incurred
                                                                Is the claim subject to offset?

Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



     2.2    Priority creditor's name and mailing address        As of the petition filing date, the              $15,788.47          $13,650.00
                                                                claim is: Check all that apply.
C Douglas Gregory
                                                                   Contingent
6207 Riverchase Village Drive                                       Unliquidated
                                                                
                                                                   Disputed

                                                                Basis for the claim:
Kingwood                              TX      77345             Pre-petition wages
Date or dates debt was incurred
                                                                Is the claim subject to offset?

Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor       Flexible Funding Ltd. Liability Co.                                     Case number (if known)    21-42215-mxm11

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


  2.3     Priority creditor's name and mailing address      As of the petition filing date, the               $21,496.16       $13,650.00
                                                            claim is: Check all that apply.
Cheng Te Liao
                                                               Contingent
940 Camino Verde Cir                                            Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
Walnut Creek                       CA     94597             Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



  2.4     Priority creditor's name and mailing address      As of the petition filing date, the                $2,576.00         $2,576.00
                                                            claim is: Check all that apply.
Christopher Carnes
                                                               Contingent
1485 Ogden Peak Circle                                          Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
Ogden                              UT      84404            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



  2.5     Priority creditor's name and mailing address      As of the petition filing date, the                 $514.50           $514.50
                                                            claim is: Check all that apply.
Cindy Reacer
                                                               Contingent
2481 Silver Spur Drive                                          Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
Santa Rosa                         CA      95407            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )




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Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


  2.6     Priority creditor's name and mailing address      As of the petition filing date, the               $2,409.00         $2,409.00
                                                            claim is: Check all that apply.
Eileen Hall
                                                               Contingent
PO Box 4388                                                     Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
Eagle                              CO      81631            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



  2.7     Priority creditor's name and mailing address      As of the petition filing date, the                $378.00           $378.00
                                                            claim is: Check all that apply.
Gabriel King
                                                               Contingent
1028 Kawana Springs Road                                        Unliquidated
                                                            
Apt 102                                                        Disputed

                                                            Basis for the claim:
Santa Rosa                         CA      95404            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



  2.8     Priority creditor's name and mailing address      As of the petition filing date, the               $4,687.95         $4,687.95
                                                            claim is: Check all that apply.
Internal Revenue Service
                                                               Contingent
Centralized Insolvency Operations                               Unliquidated
                                                            
PO Box 21126                                                   Disputed

                                                            Basis for the claim:
Philadelphia                       PA      19114-0326       Payroll Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
2021
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


  2.9     Priority creditor's name and mailing address      As of the petition filing date, the                $472.50           $472.50
                                                            claim is: Check all that apply.
Irma King
                                                               Contingent
1028 Kawana Springs Road                                        Unliquidated
                                                            
Apt 102                                                        Disputed

                                                            Basis for the claim:
Santa Rosa                         CA      95404            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



 2.10     Priority creditor's name and mailing address      As of the petition filing date, the               $8,826.91         $8,826.91
                                                            claim is: Check all that apply.
James Burke
                                                               Contingent
422 Fulton Street                                               Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
Camarillo                          CA      93010            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



 2.11     Priority creditor's name and mailing address      As of the petition filing date, the                $483.00           $483.00
                                                            claim is: Check all that apply.
Justin Reacer
                                                               Contingent
2481 Silver Spur Drive                                          Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
Santa Rosa                         CA      95407            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )




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Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


 2.12     Priority creditor's name and mailing address      As of the petition filing date, the                $619.50           $619.50
                                                            claim is: Check all that apply.
Karina Contreras
                                                               Contingent
1233 Kawana Terrace                                             Unliquidated
                                                            
Apt 8202                                                       Disputed

                                                            Basis for the claim:
Santa Rosa                         CA      95404            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



 2.13     Priority creditor's name and mailing address      As of the petition filing date, the               $4,732.00         $4,732.00
                                                            claim is: Check all that apply.
Kevin Narayan
                                                               Contingent
11 Bellhaven Court                                              Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
Daly City                          CA     74015             Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



 2.14     Priority creditor's name and mailing address      As of the petition filing date, the               $5,753.84         $5,753.84
                                                            claim is: Check all that apply.
Linda Nguyen
                                                               Contingent
505 Timber Way Drive                                            Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
Lewisville                         TX      75067            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )




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 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


 2.15     Priority creditor's name and mailing address      As of the petition filing date, the                $2,975.00         $2,975.00
                                                            claim is: Check all that apply.
Michael McHaney
                                                               Contingent
2539 New Heather Way                                            Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
Chico                              CA      95973            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



 2.16     Priority creditor's name and mailing address      As of the petition filing date, the               $16,153.84       $13,650.00
                                                            claim is: Check all that apply.
Paul DeLuca
                                                               Contingent
4900 Gage Ave.                                                  Unliquidated
                                                            
Apt 347                                                        Disputed

                                                            Basis for the claim:
Fort Worth                         TX      76109            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



 2.17     Priority creditor's name and mailing address      As of the petition filing date, the                $6,211.56         $6,211.56
                                                            claim is: Check all that apply.
Roberto Garcia
                                                               Contingent
1513 Corte Lejos                                                Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
Camarillo                          CA      93010            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )




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 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


 2.18     Priority creditor's name and mailing address      As of the petition filing date, the               $13,326.94       $13,326.94
                                                            claim is: Check all that apply.
Scott Dirvonas
                                                               Contingent
108 Creamery Trail                                              Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
Edwards                            CO      81632            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



 2.19     Priority creditor's name and mailing address      As of the petition filing date, the               $16,153.84       $13,650.00
                                                            claim is: Check all that apply.
Steve Capper
                                                               Contingent
1350 Butterfield Road                                           Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
San Anselmo                        CA     94960             Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



 2.20     Priority creditor's name and mailing address      As of the petition filing date, the               $21,153.84       $13,650.00
                                                            claim is: Check all that apply.
Steve Sala
                                                               Contingent
3358 East La Vie Lane                                           Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
Cottonwood Heights                 UT      84093            Pre-petition wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )




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 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


 2.21     Priority creditor's name and mailing address      As of the petition filing date, the                $763.77           $763.77
                                                            claim is: Check all that apply.
Texas Workforce Commission
                                                               Contingent
101 East 15th Street                                            Unliquidated
                                                            
Austin, TX 78778-001                                           Disputed

                                                            Basis for the claim:
                                                            Unemployment
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    Unknown
                                                                   Check all that apply.
A Bigger Bottom Line                                                Contingent
4470 W. Sunset Blvd                                                 Unliquidated
Unit 90599                                                          Disputed
                                                                   Basis for the claim:
Los Angeles                              CA       90027            Service

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.2    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                   Check all that apply.
ADP                                                                 Contingent
2735 N. Stemmons Fwy,                                               Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Dallas                                   TX       75027            Contract

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.3    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                   Check all that apply.
Advanced Funding Group                                              Contingent
9 Declaration Drive,                                                Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Newtown                                  PA       18940            Contract

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.4    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                   Check all that apply.
Alex Cervantes                                                      Contingent
9417 Victoria Av #B,                                                Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Southgate                                CA       90280            Contract

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Andew Spitz                                                      Contingent
145 Jackson Dr,                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Orange                                 OH       44022           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
AP Shale Logistics Management Co, LLC                            Contingent
5600 Clearfork Main St.                                          Unliquidated
Suite 420                                                        Disputed
                                                                Basis for the claim:
Fort Worth                             TX       76109           Landlord - Fort Worth, TX Location

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
ASG Renaissance, LLC                                             Contingent
22226 Garrison Street                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dearborn                               MI       48128           Operating Agreement

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
AT&T                                                             Contingent
P.O. Box 2969                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Omaha                                  NE       68103-2969      Service

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:        Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Boston Properties Limited Partnership                            Contingent
Prudential Tower                                                 Unliquidated
800 Boylston Street                                              Disputed
                                                                Basis for the claim:
Boston                                 MA       02199           Landlord - San Francisco, CA Location

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $2,138.47
                                                                Check all that apply.
C Douglas Gregory                                                Contingent
6207 Riverchase Village Drive                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Kingwood                               TX       77345           Non-priority pre-petition wages

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Canfield Funding, LLC, d/b/a Millennium                          Contingent
John Benkovich                                                   Unliquidated
1775 Wehrle Drive                                                Disputed
                                                                Basis for the claim:
Williamsville                          NY       14221           Participation Agreement

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.12     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Capital Equity Partner                                           Contingent
800 N. Haven Ave                                                 Unliquidated
Suite 240,                                                       Disputed
                                                                Basis for the claim:
Ontario                                CA       91764           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.13     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,000,000.00
                                                                Check all that apply.
Capper Investment Company, LLC,                                  Contingent
c/o Norman Capper                                                Unliquidated
1101 Fifth Avenue #350                                           Disputed
                                                                Basis for the claim:
San Rafael                             CA       94901           Loan

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $9,009.00
                                                                Check all that apply.
Carle Mackie Power & Ross LLP                                    Contingent
100 B Street                                                     Unliquidated
Suite 400                                                        Disputed
                                                                Basis for the claim:
Santa Rosa                             CA       95401           Professional Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $5,450.09
                                                                Check all that apply.
Carrie R. Mtchell, Esq.                                          Contingent
PO Box 849                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Canton                                 TX       75103-1011      Professional Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $350,000.00
                                                                Check all that apply.
Charisse Castagnoli                                              Contingent
6905 Peppervine Cv.                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Austin                                 TX       78750           Loan

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

  3.17     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,500,000.00
                                                               Check all that apply.
Cheng Chin Liao                                                 Contingent
6163 Sagebrush Bend Way                                         Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Diego                              CA     92130            Loan

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.18     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,000,000.00
                                                               Check all that apply.
Cheng Te Liao                                                   Contingent
940 Camino Verde Cir                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Walnut Creek                           CA     94597            Loan

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.19     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $40,957.36
                                                               Check all that apply.
Cheng Te Liao                                                   Contingent
940 Camino Verde Cir                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Walnut Creek                           CA     94597            Employee Expense Reimbursement

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.20     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $7,846.16
                                                               Check all that apply.
Cheng Te Liao                                                   Contingent
940 Camino Verde Cir                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Walnut Creek                           CA     94597            Non-priority pre-petition wages

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.21     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,000,000.00
                                                                Check all that apply.
Chi Wei Liao                                                     Contingent
940 Camino Verde Cir                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Walnut Creek                           CA       94597           Loan

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.22     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Cogent Communications                                            Contingent
PO Box 791087                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Baltimore                              MD       21279-1087      Service

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.23     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Corporate Finance New                                            Contingent
2905 S. Federal Hwy, Ste C12                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Delray Beach                           FL       33483           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.24     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Corporate Finance New                                            Contingent
14280 S Military Trail # 7892                                    Unliquidated
PO Box 7892,                                                     Disputed
                                                                Basis for the claim:
Delray Beach                           FL       33482           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.25     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Corporation Service Company                                      Contingent
801 Stevenson Drive                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Springfield                            IL       62703           Service

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.26     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Danilo Tenorio Raisi                                             Contingent
Rua Jua, 65 Apt. 22,                                             Unliquidated
Sao Paolo, SP Brazil                                             Disputed
                                                                Basis for the claim:
                                                                Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.27     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dave Kooiman                                                     Contingent
2910 Inland Empire Blvd.,                                        Unliquidated
Ste 100                                                          Disputed
                                                                Basis for the claim:
Ontario                                CA       91761           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.28     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Demsker Consulting                                               Contingent
3446 Lawton Ln.,                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pepper Pike                            OH       44124           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.29     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
DFW Office Systems                                               Contingent
13719 Gamma Rd.,                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Farmers Branch                         TX       75244           Copier Lease/Service Agreement

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.30     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Dirvonas and Associates                                          Contingent
PO Box 665                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Edwards                                CO       81632           Landlord - Denver, CO Location

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes
see attachment to Schedule G - Executory Contracts and Unexpired Leases

  3.31     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Dirvonas Interactive                                             Contingent
PO Box 665                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Edwards                                CO       81632           Service

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.32     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Duesenberg Investment Company, LLC                               Contingent
c/o Topa Property Group, Inc.                                    Unliquidated
1800 Avenue of the Stars                                         Disputed
Suite 650                                                       Basis for the claim:
Los Angeles                            CA       90067           Landlord - Los Angeles, CA Location

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

  3.33     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  Unknown
                                                               Check all that apply.
Embarcadero Financial Group                                     Contingent
Attn: David Rockman                                             Unliquidated
1 Embarcadero Center                                            Disputed
#1540                                                          Basis for the claim:
San Francisco                          CA     94111            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.34     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
EmployInsure                                                    Contingent
Michael DiManno                                                 Unliquidated
2365 Iron Point Rd., Ste 100,                                   Disputed
                                                               Basis for the claim:
Folsom                                 CA     95630            Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.35     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  Unknown
                                                               Check all that apply.
Experian                                                        Contingent
Department 1971                                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Los Angeles                            CA     90088            Service

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.36     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Factor Finders, LLC                                             Contingent
25101 Chagrin Boulevard                                         Unliquidated
Suite 250                                                       Disputed
                                                               Basis for the claim:
Cleveland                              OH     44122            Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.37     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Fastmetrics                                                      Contingent
PO Box 77267                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Francisco                          CA       94107           Service

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.38     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Federal Express                                                  Contingent
PO Box 7221                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pasadena                               CA       91109-7321      Service

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.39     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Flexible Support Group, LLC                                      Contingent
22226 Garrison Street                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dearborn                               MI       48128           Operating Agreement

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.40     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $8,835.54
                                                                Check all that apply.
Focus Management Group                                           Contingent
6585 N Avondale Ave                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60631           Professional Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

  3.41     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  Unknown
                                                               Check all that apply.
Fox Rothschild LLP                                              Contingent
2000 Market Street                                              Unliquidated
20th Floor                                                      Disputed
                                                               Basis for the claim:
Philadelphia                           PA     19103            Professional Services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.42     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $13,050.00
                                                               Check all that apply.
Fresh Packing Corporation                                       Contingent
c/o Raymond Perez, Esq.                                         Unliquidated
5161 Pomona Blvd., Suite 208                                    Disputed
                                                               Basis for the claim:
Los Angeles                            CA     90022            Attorney Fees - Litigation

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.43     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
GRB Associates                                                  Contingent
2 Nicols Court                                                  Unliquidated
West Harrison, NY, 10604                                        Disputed
                                                               Basis for the claim:
                                                               Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.44     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                    $749.00
                                                               Check all that apply.
Hanson Bridgett LLP                                             Contingent
425 Market Street, 26th Floor                                   Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Francisco                          CA     94105            Attorney Fees

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.45     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Hunter Reid                                                      Contingent
82 Main Street East,                                             Unliquidated
Grimsby, ON L3M1N3                                               Disputed
                                                                Basis for the claim:
                                                                Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.46     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Intuit                                                           Contingent
5601 Headquarters Dr.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Plano                                  TX       75024           Service

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.47     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $3,362.35
                                                                Check all that apply.
James Burke                                                      Contingent
422 Fulton Street                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Camarillo                              CA       93010           Employee Expense Reimbursement

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.48     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $776,475.09
                                                                Check all that apply.
Jan Marcus Capper                                                Contingent
1350 Butterfield Road                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Anselmo                            CA       94960           Loan

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

  3.49     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $500,000.00
                                                               Check all that apply.
Jerry & Rosemary Fong                                           Contingent
7700 Marker Road                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Diego                              CA     92130            Loan

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.50     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
JS Platinum Insurance                                           Contingent
4835 Hallmark Parkway,                                          Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Bernardino                         CA     92407            Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.51     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
JVRC                                                            Contingent
Jesse Gutierrez                                                 Unliquidated
5707 Corsa Ave., #105,                                          Disputed
                                                               Basis for the claim:
Westlake Village                       CA     91362            Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.52     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Keystone Marketing                                              Contingent
Bill Hansen                                                     Unliquidated
1322 South 2670 East St.                                        Disputed
                                                               Basis for the claim:
George                                 UT     84790            Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

  3.53     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Keystone Marketing LLC                                          Contingent
777 E. 700 So, St.                                              Unliquidated
                                                                Disputed
                                                               Basis for the claim:
George                                 UT     84790            Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.54     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Larry Holstein                                                  Contingent
20600 Chagrin Blvd, Ste 350,                                    Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Cleveland                              OH     44122            Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.55     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $25,081.70
                                                               Check all that apply.
Levinson, Arshonsky & Kurtz, LP                                 Contingent
15303 Ventura Blvd.,                                            Unliquidated
Suite 1650                                                      Disputed
                                                               Basis for the claim:
Sherman Oaks                           CA     91403            Professional Services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.56     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Lilogy                                                          Contingent
Andrew James                                                    Unliquidated
60 Broad Street., Ste 2404,                                     Disputed
                                                               Basis for the claim:
NY                                     NY     10004            Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

  3.57     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $31,010.00
                                                               Check all that apply.
Maher Accountancy                                               Contingent
1101 Fifth Avenue                                               Unliquidated
Suite 200                                                       Disputed
                                                               Basis for the claim:
San Rafael                             CA     94901            Professional Services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.58     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Marcos Hass Wakamatsu                                           Contingent
Rua Rio Claro, n. 65 Apt 31                                     Unliquidated
Barirro Olimpico                                                Disputed
Sao Caetano do Sut Sao Paulo                                   Basis for the claim:
                                                               Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.59     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  Unknown
                                                               Check all that apply.
Marcum LLP                                                      Contingent
6685 Beta Drive                                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Mayfield Village                       OH     44143            Service

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.60     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  Unknown
                                                               Check all that apply.
McCarthy Lebit Crystal Liffman                                  Contingent
101 W. Prospect Ave.                                            Unliquidated
Ste. 1800                                                       Disputed
                                                               Basis for the claim:
Cleveland                              OH     44115            Professional Services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.61     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Meritus Capital, Inc                                             Contingent
1751 River Run                                                   Unliquidated
Ste 200                                                          Disputed
                                                                Basis for the claim:
Fort Worth                             TX       76107           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.62     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Metro Business Solutions                                         Contingent
Sunny Arora                                                      Unliquidated
260 Middlesex Essex Turpike,                                     Disputed
                                                                Basis for the claim:
Iselin                                 NJ       08830           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.63     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Michael Santos Insuran                                           Contingent
5666 La Jolla Blvd                                               Unliquidated
#303,                                                            Disputed
                                                                Basis for the claim:
La Jolla                               CA       92037           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.64     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Microsoft                                                        Contingent
One Microsoft Way,                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Redmond                                WA       98052           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.65     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Mowbray's Tree Service                                           Contingent
171 S Waterman Ave.                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Bernardino                         CA       92408           Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.66     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $19,178.60
                                                                Check all that apply.
Omninet CV Townsgate, LLC                                        Contingent
9420 Wilshire Blvd.                                              Unliquidated
#400                                                             Disputed
                                                                Basis for the claim:
Beverly Hills                          CA       90212           Lease

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.67     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $120,036.79
                                                                Check all that apply.
Pahl & McCay                                                     Contingent
225 West Santa Clara St                                          Unliquidated
Ste 1500                                                         Disputed
                                                                Basis for the claim:
San Jose                               CA       95113-1700      Attorney Fees

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.68     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $17,000.00
                                                                Check all that apply.
Paul DeLuca                                                      Contingent
4900 Gage Ave.                                                   Unliquidated
Apt 347                                                          Disputed
                                                                Basis for the claim:
Fort Worth                             TX       76109           Employee Expense Reimbursement

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.69     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $2,503.84
                                                                Check all that apply.
Paul DeLuca                                                      Contingent
4900 Gage Ave.                                                   Unliquidated
Apt 347                                                          Disputed
                                                                Basis for the claim:
Fort Worth                             TX       76109           Non-priority pre-petition wages

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.70     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Paul McClintock                                                  Contingent
2524 Rivertowne Pkwy,                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mount Pleasant                         SC       29466           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.71     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
PEO Analysis                                                     Contingent
Chris Fitzjarrald                                                Unliquidated
2028 S. Bentley Ave., #PH1,                                      Disputed
                                                                Basis for the claim:
Los Angeles                            CA       90025           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.72     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Perk Benefits                                                    Contingent
Ryan Scott                                                       Unliquidated
2034 E. Marquette Dr.,                                           Disputed
                                                                Basis for the claim:
Gilbert                                AZ       85234           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.73     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Prestige Capital                                                 Contingent
400 Kelby Street                                                 Unliquidated
10th Floor,                                                      Disputed
                                                                Basis for the claim:
Fort Lee                               NJ       07024           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.74     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $15,000.00
                                                                Check all that apply.
Prime Financial Recruiting                                       Contingent
4713 Kyle Drive                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Balch Springs                          TX       75180           Service

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.75     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
QuickBooks                                                       Contingent
2632 Marine Way                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mountain View                          CA       94043           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.76     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Reinhart Boerner Van Deuren                                      Contingent
1100 N. Water Street,                                            Unliquidated
Ste 1700                                                         Disputed
                                                                Basis for the claim:
Milwaukee                              WI       53202           Professional Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.77     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ring Central                                                     Contingent
20 Davis Drive,                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Belmont                                CA       94002           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.78     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $133,262.50
                                                                Check all that apply.
Ropes & Gray LLP                                                 Contingent
PO Box 70280                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Philadelphia                           PA       19176-0280      Professional Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.79     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Rupen Shah                                                       Contingent
506 New Dover Rd.,                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Colonia                                NJ       07067           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.80     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Salesforce                                                       Contingent
2300 N Field St,                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75201           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.81     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $250,000.00
                                                                Check all that apply.
Scott Dirvonas                                                   Contingent
108 Creamery Trail                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Edwards                                CO       81632           Loan

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.82     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Shady Lane Partners, LLC                                         Contingent
2131 Theo Drive,                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Austin                                 TX       78723           Landlord - Austin, TX Location

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.83     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Shared Management Resources, Ltd.                                Contingent
28026 Gates Mills Blvd.                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pepper Pike                            OH       44124           Service

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.84     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $2,503.84
                                                                Check all that apply.
Steve Capper                                                     Contingent
1350 Butterfield Road                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Anselmo                            CA       94960           Non-priority pre-petition wages

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

  3.85     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,697,287.64
                                                               Check all that apply.
Steve Capper                                                    Contingent
1350 Butterfield Road                                           Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Anselmo                            CA     94960            Note

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.86     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $7,503.84
                                                               Check all that apply.
Steve Sala                                                      Contingent
3358 East La Vie Lane                                           Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Cottonwood Heights                     UT     84093            Non-priority pre-petition wages

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.87     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  Unknown
                                                               Check all that apply.
Steven Elias                                                    Contingent
109 Mariner Green Dr,                                           Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Corte Madera                           CA     94925            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.88     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  Unknown
                                                               Check all that apply.
Sweet Memory                                                    Contingent
545 Sansome Street                                              Unliquidated
Suite E                                                         Disputed
                                                               Basis for the claim:
San Francisco                          CA     94111            Service

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.89     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
T, L, & S LLC                                                    Contingent
Trey Pearce                                                      Unliquidated
6000 Fairview Rd, Ste 1200                                       Disputed
                                                                Basis for the claim:
Charlotte                              NC       28210           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.90     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
T. Jeff Stone & Associates                                       Contingent
1920 Woodbridge Dr,                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
McKinney                               TX       75072           Contract

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.91     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Tax Guard, Inc.                                                  Contingent
11800 Ridge Parkway                                              Unliquidated
Suite 400                                                        Disputed
                                                                Basis for the claim:
Broomfield                             CO       80021           Service

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.92     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $20,073.29
                                                                Check all that apply.
Terrence A. Greiner P.C.                                         Contingent
25 South Cayuga Dr.                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Williamsville                          NY       14221           Professional Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

  3.93     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
The Corporate Advocate                                          Contingent
Ray Blom                                                        Unliquidated
1455 S. Auto Center Drive, Ste 125,                             Disputed
                                                               Basis for the claim:
Ontario                                CA     91761            Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.94     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,100,000.00
                                                               Check all that apply.
The Frances Capper Marital Trust FBO                            Contingent
Frances Capper, c/o Norman Capper                               Unliquidated
1101 Fifth Avenue #350                                          Disputed
                                                               Basis for the claim:
San Rafael                             CA     94901            Loan

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.95     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,821,574.06
                                                               Check all that apply.
The Steve & Jyoti Elias Trust & Steve El                        Contingent
109 Mariner Green Dr,                                           Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Corte Madera                           CA     94925            Loan

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.96     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  Unknown
                                                               Check all that apply.
Thompson, Welch, Soroko & Gilbert LLP                           Contingent
3950 Civic Center Drive                                         Unliquidated
Suite 300                                                       Disputed
                                                               Basis for the claim:
San Rafael                             CA     94903            Attorney Fees

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

  3.97     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Trust Funding Solutions                                         Contingent
John Harraghy                                                   Unliquidated
7 Rozella St.,                                                  Disputed
                                                               Basis for the claim:
Newtown                                PA     18940            Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.98     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Umpqua Bank                                                     Contingent
PO Box 1580                                                     Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Roseburg                               OR     97470            Payroll Protection Loan

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.99     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  Unknown
                                                               Check all that apply.
United Commercial Collections                                   Contingent
4455 Genesee St.                                                Unliquidated
# 116                                                           Disputed
                                                               Basis for the claim:
Buffalo                                NY     14225            Service

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.100    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  Unknown
                                                               Check all that apply.
Verizon Wireless                                                Contingent
PO Box 96088                                                    Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Bellevue                               WA     98009            Service

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.101     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $38,718.99
                                                                 Check all that apply.
Voco Vilya, Inc.                                                  Contingent
c/o Charisse Castagnoli                                           Unliquidated
6905 Peppervine Cove                                              Disputed
                                                                 Basis for the claim:
Austin                                  TX       78750           Professional Services

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number
                                                                  No
                                                                  Yes

  3.102     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $77,544.50
                                                                 Check all that apply.
Ward & Smith                                                      Contingent
82 Patton Avenue, Suite 300 (28801)                               Unliquidated
                                                                  Disputed
                                                                 Basis for the claim:
Asheville                               NC       28802-2020      Professional Services

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number
                                                                  No
                                                                  Yes

  3.103     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                 Check all that apply.
Wells Fargo Bank N.A.                                             Contingent
420 Montgomery St.                                                Unliquidated
9th Floor                                                         Disputed
                                                                 Basis for the claim:
San Francisco                           CA       94104           Contract

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number
                                                                  No
                                                                  Yes

  3.104     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                 Check all that apply.
William Blenderman                                                Contingent
62 Golf Club Circle,                                              Unliquidated
                                                                  Disputed
                                                                 Basis for the claim:
Pawleys Island                          SC       29585           Contract

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number
                                                                  No
                                                                  Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

  3.105    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  Unknown
                                                               Check all that apply.
Wollburg - Milchelson Personnel - 1099                          Contingent
315 Montgomery Street                                           Unliquidated
Suite 1029                                                      Disputed
                                                               Basis for the claim:
San Francisco                          CA     94104            Service

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.106    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
WorkComp Solutions LLC                                          Contingent
9668 Milliken Ave                                               Unliquidated
Ste. 104-189,                                                   Disputed
                                                               Basis for the claim:
Rancho Cucamonga                       CA     91730            Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.107    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Workers Comp Access                                             Contingent
Mike Santos                                                     Unliquidated
4179 Adams Ave,                                                 Disputed
                                                               Basis for the claim:
San Diego                              CA     92116            Contract

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                      page 35
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Debtor      Flexible Funding Ltd. Liability Co.                               Case number (if known)      21-42215-mxm11

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                $149,515.09

5b. Total claims from Part 2                                                              5b.   +         $13,596,152.65


5c. Total of Parts 1 and 2                                                                5c.             $13,745,667.74
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 36
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 Fill in this information to identify the case:
 Debtor name         Flexible Funding Ltd. Liability Co.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         21-42215-mxm11                           Chapter      11                                     Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Please see attached list                        Please see attached list
          or lease is for and the
          nature of the debtor's
          interest




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                             page 1
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                                    Flexible Funding Ltd. Liability Co., et al

                                          Case No. 21-42215-mxm11



                  Schedule G – Executory Contracts and Unexpired Leases


             Name                                   Address                                 Description

              ADP                     2735 N. Stemmons Fwy, Dallas, TX           PEO Payroll Provider with included
                                                    75027                                 health benefits
    Advanced Funding Group                   9 Declaration Drive,                   Customer referral payment
                                            Newtown, PA 18940                                agreement
         Alex Cervantes               9417 Victoria Av #B, Southgate, CA            Customer referral payment
                                                    90280                                    agreement

          Andew Spitz                 145 Jackson Dr, Orange, OH 44022             Customer referral payment
                                                                                           agreement
AP Shale Logistics Management Co,      5600 Clearfork Main Street, Ste            Fort Worth, Texas Office Lease
                LLC                                  420
                                            Fort Worth, TX 76109
        Boston Properties                Boston Properties, Inc, 800             San Francisco - One Embarcardero
                                      Boylston Street, Ste. 1900, Boston,                      Lease
                                                  MA 02199
      Capital Equity Partner                  800 N. Haven Ave                      Customer referral payment
                                                  Suite 240,                              agreement
                                              Ontario, CA 91764
     Corporate Finance New              14280 S Military Trail # 7892               Customer referral payment
                                                PO Box 7892,                              agreement
                                            Delray Beach, FL 33482
     Corporate Finance New              2905 S. Federal Hwy, Ste C12,               Customer referral payment
          (Jack Tyger)                     Delray Beach, FL 33483                         agreement

       Danilo Tenorio Raisi                  Rua Jua, 65 Apt. 22,                   Contract software engineer
                                             Sao Paolo, SP Brazil
         Dave Kooiman                 2910 Inland Empire Blvd., Ste 100,            Customer referral payment
                                             Ontario, CA 91761                            agreement

Demsker Consulting (Rob Demsker)      3446 Lawton Ln., Pepper Pike, OH              Customer referral payment
                                                  44124                                   agreement

       DFW Office Systems                 13719 Gamma Rd., Farmers                   Copier Service Agreement
                                              Branch, TX 75244
       DFW Office Systems                 13720 Gamma Rd., Farmers                      Office Copier Lease
                                              Branch, TX 75244

                                                        1
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              Name                                 Address                         Description

Duesenberg Investment Company,        1800 Avenue of the Stars, Ste 650,         LA Office Lease
LLC, c/o Topa Property Group, Inc.,              LA, CA 90067
        Factor Finders, LLC             25101 Chagrin Boulevard Suite       Customer referral payment
                                                      250,                        agreement
                                             Cleveland, OH 44122
   GRB Associates (Gary Baker)        2 Nicols Court, West Harrison, NY,    Customer referral payment
                                                     10604                          agreement
        Hunter Reid (PFC)             82 Main Street East, Grimsby, ON      Customer referral payment
                                                    L3M1N3                          agreement
   James Shalinsky (Advanced            9 Declaration Dr, Newtown, PA       Customer referral payment
          Funding Group)                             18940                          agreement
    Jeff Stone (T. Jeff Stone &        1920 Woodbridge Dr, McKinney,        Customer referral payment
            Associates)                            TX 75072                         agreement
  John Harraghy (Trust Funding        7 Rozella St., Newtown, PA 18940      Customer referral payment
            Solutions)                                                              agreement
      JS Platinum Insurance                4835 Hallmark Parkway,           Customer referral payment
                                          San Bernardino, CA 92407                  agreement
      JVRC (Jesse Gutierrez)           5707 Corsa Ave., #105, Westlake      Customer referral payment
                                              Village, CA 91362                     agreement
 Keystone Marketing (Bill Hansen)     1322 South 2670 East, St. George,     Customer referral payment
                                                   UT 84790                         agreement
     Keystone Marketing LLC                    777 E. 700 So, St.           Customer referral payment
                                              George, UT 84790                      agreement
          Larry Holstein                 20600 Chagrin Blvd, Ste 350,       Customer referral payment
                                            Cleveland, OH 44122                     agreement
      Lilogy (Andrew James)           60 Broad Street., Ste 2404, NY, NY    Customer referral payment
                                                     10004                          agreement
     Marcos Hass Wakamatsu            Rua Rio Claro, n. 65 Apt 31 Barirro   Contract software engineer
                                                   Olimpico,
                                        Sao Caetano do Sut Sao Paulo
         Meritus Capital                        1751 River Run              Customer referral payment
                                                  Suite 200                       agreement
                                           Fort Worth, TX 76107
Michael DiManno (EmployInsure)           2365 Iron Point Rd., Ste 100,      Customer referral payment
                                              Folsom, CA 95630                    agreement
      Michael Santos Insuran                  5666 La Jolla Blvd            Customer referral payment
                                                     #303,                        agreement
                                              La Jolla, CA 92037
            Microsoft                 One Microsoft Way, Redmond, WA            Software provider
                                                     98052
   Mike Santos (Workers Comp           4179 Adams Ave, San Diego, CA        Customer referral payment
             Access)                                 92116                        agreement
         Paul McClintock                   2524 Rivertowne Pkwy,            Customer referral payment
                                          Mount Pleasant, SC 29466                agreement


                                                      2
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                               Name                                                             Address                                   Description

          PEO Analysis (Chris Fitzjarrald)                                2028 S. Bentley Ave., #PH1, Los                          Customer referral payment
                                                                                Angeles, CA 90025                                        agreement
             Phil Cohen (Factor Finders)                                   25101 Chagrin Blvd, Ste 250,                            Customer referral payment
                                                                              Cleveland, OH 44122                                        agreement
                       Prestige Capital                                           400 Kelby Street                                 Customer referral payment
                                                                                     10th Floor,                                         agreement
                                                                                Fort Lee, NJ 07024
                          QuickBooks                                            2632 Marine Way                                        Software provider
                                                                             Mountain View, CA 94043
                          Ring Central                                  20 Davis Drive, Belmont, CA 94002                            Phone system software
                          Rupen Shah                                      506 New Dover Rd., Colonia, NJ                           Customer referral payment
                                                                                        07067                                              agreement
              Ryan Scott (Perk Benefits)                                2034 E. Marquette Dr., Gilbert, AZ                         Customer referral payment
                                                                                        85234                                              agreement
                   Salesforce                                            2300 N Field St, Dallas, TX 75201                              Software provider
           Sunny Arora (Metro Business                                     260 Middlesex Essex Turpike,                            Customer referral payment
                   Solutions)                                                     Iselin, NJ 08830                                         agreement
           The Corporate Advocate (Ray                                  1455 S. Auto Center Drive, Ste 125,                        Customer referral payment
                     Blom)                                                      Ontario, CA 91761                                          agreement
                     Tipalti                                                    1810 Gateway Dr.,                                   Offshore staffing provider
                                                                                       Ste 300,
                                                                              San Mateo, CA 94404
              Trey Pearce (T, L, & S LLC)                                   6000 Fairview Rd, Ste 1200,                            Customer referral payment
                                                                               Charlotte, NC 28210                                         agreement
                 Wells Fargo Bank N.A.                                   420 Montgomery St., 9th Flr, San                         Treasury Management service
                                                                               Francisco, CA 94104                                          provider
                  William Blenderman                                            62 Golf Club Circle,                               Customer referral payment
                                                                             Pawleys Island, SC 29585                                      agreement
              WorkComp Solutions LLC                                             9668 Milliken Ave                                 Customer referral payment
                                                                                    Ste. 104-189,                                          agreement
                                                                          Rancho Cucamonga, CA 91730

L:\JPROSTOK\Flexible Funding (C11) #6264\Pleadings\Flexible Sale Motion\Flexible Rev. List of Executory Contracts 10.26.21.docx




                                                                                                      3
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 Fill in this information to identify the case:
 Debtor name         Flexible Funding Ltd. Liability Co.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         21-42215-mxm11                                                                                Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes
2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Instapay Flexible, LLC          5600 Clearfork Main St.                                CIT Bank                             D
                                       Number      Street
                                                                                                                                   E/F
                                       Suite 420                                                                                   G

                                       Fort Worth                     TX      76109
                                       City                           State   ZIP Code


2.2    Instapay Flexible, LLC          5600 Clearfork Main St.                                First Horizon Bank                   D
                                       Number      Street
                                                                                                                                   E/F
                                       Suite 420                                                                                   G

                                       Fort Worth                     TX      76109
                                       City                           State   ZIP Code


2.3    Instapay Flexible, LLC          5600 Clearfork Main St.                                Umpqua Bank                          D
                                       Number      Street
                                                                                                                                   E/F
                                       Suite 420                                                                                   G

                                       Fort Worth                     TX      76109
                                       City                           State   ZIP Code


2.4    Instapay Flexible, LLC          5600 Clearfork Main St.                                Medalist Partners, L.P.              D
                                       Number      Street
                                                                                                                                   E/F
                                       Suite 420                                                                                   G

                                       Fort Worth                     TX      76109
                                       City                           State   ZIP Code


2.5    Instapay Flexible, LLC          5600 Clearfork Main St.                                Umpqua Bank                          D
                                       Number      Street
                                                                                                                                   E/F
                                       Suite 420                                                                                   G

                                       Fort Worth                     TX      76109
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
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Debtor       Flexible Funding Ltd. Liability Co.                                   Case number (if known)   21-42215-mxm11



          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.6   Paul DeLuca                   4900 Gage Ave.                                    Medalist Partners, L.P.            D
                                    Number     Street
                                                                                                                         E/F
                                    Apt 347                                                                              G

                                    Fort Worth                  TX      76109
                                    City                        State   ZIP Code


2.7   Paul DeLuca                   4900 Gage Ave.                                    Umpqua Bank                        D
                                    Number     Street
                                                                                                                         E/F
                                    Apt 347                                                                              G

                                    Fort Worth                  TX      76109
                                    City                        State   ZIP Code


2.8   Steve Capper                  1350 Butterfield Road                             Medalist Partners, L.P.            D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Anselmo                 CA      94960
                                    City                        State   ZIP Code


2.9   Steve Capper                  1350 Butterfield Road                             Umpqua Bank                        D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Anselmo                 CA      94960
                                    City                        State   ZIP Code


2.10 Steve Capper                   1350 Butterfield Road                             The Steve & Jyoti Elias            D
                                    Number     Street                                 Trust & Steve El                   E/F
                                                                                                                         G

                                    San Anselmo                 CA      94960
                                    City                        State   ZIP Code




Official Form 206H                                       Schedule H: Codebtors                                                   page 2
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 Fill in this information to identify the case:


 Debtor Name Flexible Funding Ltd. Liability Co.

 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF TEXAS

 Case number (if known):                21-42215-mxm11                                                                                                                                     Check if this is an
                                                                                                                                                                                            amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                                  $0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B...........................................................................................................................                       $105,676,373.81

     1c. Total of all property
         Copy line 92 from Schedule A/B.............................................................................................................................                      $105,676,373.81


 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.......................................                                                    $95,478,666.86

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................                                         $149,515.09

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..................................................                                            +    $13,596,152.65


4.   Total liabilities
     Lines 2 + 3a + 3b.............................................................................................................................................................       $109,224,334.60




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case and this filing:
 Debtor Name         Flexible Funding Ltd. Liability Co.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         21-42215-mxm11
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:



                   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                   Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                   Schedule H: Codebtors (Official Form 206H)

                   A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                   Amended Schedule

                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                   Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 11/05/2021                       X /s/ Steve Capper
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Steve Capper
                                                              Printed name
                                                              Managing Member
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case and this filing:
 Debtor Name         Flexible Funding Ltd. Liability Co.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         21-42215-mxm11
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:



                   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                   Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                   Schedule H: Codebtors (Official Form 206H)

                   A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                   Amended Schedule

                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                   Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 11/05/2021                       X /s/ Paul DeLuca
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Paul DeLuca
                                                              Printed name
                                                              Managing Member
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
